                 Case 1-17-44932-cec              Doc 15        Filed 01/06/18          Entered 01/07/18 00:17:10

                                               United States Bankruptcy Court
                                               Eastern District of New York
In re:                                                                                                     Case No. 17-44932-cec
Edmund Orok-Edem                                                                                           Chapter 7
         Debtor
                                                 CERTIFICATE OF NOTICE
District/off: 0207-1                  User: admin                        Page 1 of 2                          Date Rcvd: Jan 04, 2018
                                      Form ID: 318DF7                    Total Noticed: 20


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Jan 06, 2018.
db              Edmund Orok-Edem,    71 Sheraden Ave,   Staten Island, NY 10314-4447
smg             NYC Department of Finance,    345 Adams Street,   Office of Legal Affairs,
                 Brooklyn, NY 11201-3719
smg            +NYS Unemployment Insurance,    Attn: Insolvency Unit,   Bldg. #12, Room 256,
                 Albany, NY 12240-0001
9105790         Bankers Healthcare Group,    201 Solar St,   Syracuse, NY 13204-1425
9105792       ++CITIBANK,   PO BOX 790034,    ST LOUIS MO 63179-0034
               (address filed with court: Cbna,     50 NW Point Blvd,   Elk Grove Village, IL 60007-1032)
9105795         Child Support Enforcem,    PO Box 14,   Albany, NY 12201-0014
9105797         Citibank North America,    Citicorp Credit Srvs/Centralized Bankrup,   PO Box 790040,
                 Saint Louis, MO 63179-0040
9105798         Citicards Cbna,    Citicorp Credit Svc/Centralized Bankrupt,   PO Box 790040,
                 Saint Louis, MO 63179-0040
9105801         Santander Bank NA,    865 Brook St,   Rocky Hill, CT 06067-3444

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
smg            +E-mail/Text: nys.dtf.bncnotice@tax.ny.gov Jan 04 2018 18:33:47
                 NYS Department of Taxation & Finance,   Bankruptcy Unit,    PO Box 5300,
                 Albany, NY 12205-0300
smg            +E-mail/Text: ustpregion02.br.ecf@usdoj.gov Jan 04 2018 18:33:11
                 Office of the United States Trustee,   Eastern District of NY (Brooklyn Office),
                 U.S. Federal Office Building,   201 Varick Street, Suite 1006,    New York, NY 10014-9449
9105791         EDI: BANKAMER.COM Jan 04 2018 18:38:00     Bk of Amer,    PO Box 982238,
                 El Paso, TX 79998-2238
9105789         EDI: BANKAMER.COM Jan 04 2018 18:38:00     Bank of America,    NC4-105-03-14,    PO Box 26012,
                 Greensboro, NC 27420-6012
9105794         EDI: CHASE.COM Jan 04 2018 18:38:00     Chase Card,    Attn: Correspondence Dept,    PO Box 15298,
                 Wilmington, DE 19850-5298
9105793         EDI: CHASE.COM Jan 04 2018 18:38:00     Chase Card,    PO Box 15298,
                 Wilmington, DE 19850-5298
9105796         EDI: CITICORP.COM Jan 04 2018 18:38:00     Citi,    PO Box 6241,   Sioux Falls, SD 57117-6241
9105799         EDI: NAVIENTFKASMDOE.COM Jan 04 2018 18:38:00     Dept of Ed/Navient,     Attn: Claims Dept,
                 PO Box 9635,   Wilkes Barre, PA 18773-9635
9105800         EDI: NAVIENTFKASMDOE.COM Jan 04 2018 18:38:00     Dept of Ed/Navient,     PO Box 9635,
                 Wilkes Barre, PA 18773-9635
9105802         EDI: WFFC.COM Jan 04 2018 18:38:00     Wells Fargo,    PO Box 14517,
                 Des Moines, IA 50306-3517
9105803         EDI: WFFC.COM Jan 04 2018 18:38:00     Wells Fargo Bank,    PO Box 10438,
                 Des Moines, IA 50306-0438
                                                                                              TOTAL: 11

              ***** BYPASSED RECIPIENTS *****
NONE.                                                                                                               TOTAL: 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.

Addresses marked ’++’ were redirected to the recipient’s preferred mailing address
pursuant to 11 U.S.C. 342(f)/Fed.R.Bank.PR.2002(g)(4).


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Jan 06, 2018                                            Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING
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                             Form ID: 318DF7              Total Noticed: 20


The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on January 4, 2018 at the address(es) listed below:
              Alan Nisselson    anisselson@windelsmarx.com,
               theston@windelsmarx.com;ahollander@windelsmarx.com;n159@ecfcbis.com;jryan@windelsmarx.com
              Kevin B Zazzera   on behalf of Debtor Edmund Orok-Edem kzazz007@yahoo.com
              Office of the United States Trustee   USTPRegion02.BR.ECF@usdoj.gov
                                                                                            TOTAL: 3
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Information to identify the case:
Debtor 1              Edmund Orok−Edem                                           Social Security number or ITIN   xxx−xx−0858
                      First Name   Middle Name    Last Name                      EIN   _ _−_ _ _ _ _ _ _
Debtor 2                                                                         Social Security number or ITIN _ _ _ _
                      First Name   Middle Name    Last Name
(Spouse, if filing)
                                                                                 EIN   _ _−_ _ _ _ _ _ _
United States Bankruptcy Court Eastern District of New York

Case number: 1−17−44932−cec



Order of Discharge and Final Decree                                                                               Revised: 12/15



IT IS ORDERED:

A discharge under 11 U.S.C. § 727 is granted to:

           Edmund Orok−Edem




IT IS FURTHER ORDERED:

        • Alan Nisselson (Trustee) is discharged as trustee of the estate of the above−named debtor(s) and
          the bond is cancelled.

        • The Chapter 7 case of the above−named debtor(s) is closed.



                                                                     BY THE COURT

Dated: January 4, 2018                                               s/ Carla E. Craig
                                                                     United States Bankruptcy Judge




                          SEE THE BACK OF THIS ORDER FOR IMPORTANT INFORMATION.




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                             EXPLANATION OF BANKRUPTCY DISCHARGE
                                      IN A CHAPTER 7 CASE
      This court order grants a discharge to the person(s) named as the debtor(s). It is not a dismissal of
the case and it does not determine how much money, if any, the trustee will pay to creditors.

Collection of Discharged Debts Prohibited

      The discharge prohibits any attempt to collect from the debtor(s) a debt that has been discharged.
For example, a creditor is not permitted to contact a debtor by mail, phone, or otherwise, to file or continue
a lawsuit, to attach wages or other property, or to take any other action to collect a discharged debt from
the debtor(s). A creditor who violates this order can be required to pay damages and attorney's fees to the
debtor(s).

       However, a creditor may have the right to enforce a valid lien, such as a mortgage or security
interest, against the debtor's property after the bankruptcy, if that lien was not avoided or eliminated in the
bankruptcy case. Also, a debtor may voluntarily pay any debt that has been discharged.
Debts That are Discharged
        The chapter 7 discharge order eliminates a debtor's legal obligation to pay a debt that is discharged.
Most, but not all, types of debts are discharged if the debt existed on the date the bankruptcy case was
filed. (If this case was begun under a different chapter of the Bankruptcy Code and converted to chapter 7,
the discharge applies to debts owed when the bankruptcy case was converted.)

Debts That are Not Discharged

    Some of the common types of debts which are not discharged in a chapter 7 bankruptcy case are:

    a. Debts for most taxes;

    b. Debts incurred to pay nondischargeable taxes (in a case filed on or after October 17, 2005);

    c. Debts that are domestic support obligations;

    d. Debts for most student loans;

    e. Debts for most fines, penalties, forfeitures, or criminal restitution obligations;

    f. Debts for personal injuries or death caused by the debtor's operation of a motor vehicle, vessel, or
    aircraft while intoxicated;

    g. Some debts which were not properly listed by the debtor;

    h. Debts that the bankruptcy court specifically has decided or will decide in this bankruptcy case are
    not discharged;

    i. Debts for which the debtor has given up the discharge protections by signing a reaffirmation
    agreement in compliance with the Bankruptcy Code requirements for reaffirmation of debts;

    j. Debts owed to certain pension, profit sharing, stock bonus, other retirement plans, or to the Thrift
    Savings Plan for federal employees for certain types of loans from these plans (in a case filed on or
    after October 17, 2005).

        In addition, this discharge does not stop creditors from collecting from anyone else who is also
liable on the debt, such as an insurance company or a person who cosigned or guaranteed a loan.

      This information is only a general summary of the bankruptcy discharge. There are
exceptions to these general rules. Because the law is complicated, you may want to consult an
attorney to determine the exact effect of the discharge in this case.

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